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     Attorneys for Bardwell Defendants
12

13                       IN THE UNITED STATES DISTRICT COURT
14
                                    DISTRICT OF ARIZONA
15

16   Ronald H. Pratte,                                 Case No.: 2: 19-cv-00239-PHX-GMS

17                 Plaintiff,
18                                                      STIPULATED MOTION TO DEFER
     vs.
                                                         THE PARTIES’ EXCHANGE OF
19                                                     INITIAL MANDATORY DISCOVERY
     Jeffrey Bardwell and Fanny F. Bardwell,
20                                                               RESPONSES
     husband and wife,
21
                   Defendants.
22                                                              (FIRST REQUEST)

23

24
            In compliance with the Mandatory Initial Discovery Pilot (“MIDP”) Project and
25

26   the Court’s Order dated 1/14/2018, pgs. 2 and 5 (including General Order 17-08) [Dkt. #

27   3], the Parties hereby provide notice and certify to the Court that they are actively
28
     engaged in good faith settlement discussions. The present settlement discussions have


                                                   1
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1    included written offers and the exchange of pertinent information and additional
2
     information to be exchanged in the near future.
3

4
            For this reason, the Parties request leave of the Court to defer the exchange of

5    initial MIDP responses for thirty (30) days. The Parties’ initial MIDP responses or
6
     disclosures would be due on Monday, February 11, 2019. The Parties and their
7
     respective undersigned counsel certify that they have good faith belief that a settlement of
8

9    this matter is possible within thirty days of the present due date of the MIDP initial
10
     responses, i.e., on or before March 13, 2019. With the Court’s approval of this deferral,
11
     the Parties agree they will file either a Notice of Settlement or will exchange their initial
12

13   MIDP disclosures by March 13, 2019.

14          Wherefore the Parties jointly request the Court to approve their deferral request to
15
     permit them time to complete their settlement discussions.
16

17
     Respectfully submitted this 8th day of February, 2019.

18

19                                          By: /s/ Thomas J. Marlowe
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25                                          By: /s/ Brian M. Flaherty (with permission)
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1                                 CERTIFICATE OF SERVICE
2
             I, Thomas J. Marlowe, hereby certify that on February 8, 2019, I electronically
3

4
     transmitted the foregoing document to the Clerk’s Office using the ECF system for filing

5    and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this
6
     case.
7
     By: /s/ Thomas J. Marlowe
8

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